[Cite as State v. Holloway, 2024-Ohio-3189.]

                               COURT OF APPEALS OF OHIO

                             EIGHTH APPELLATE DISTRICT
                                COUNTY OF CUYAHOGA

STATE OF OHIO,                                       :

                 Plaintiff-Appellee,                 :
                                                              No. 113296
                 v.                                  :

CASE HOLLOWAY,                                       :

                 Defendant-Appellant.                :


                               JOURNAL ENTRY AND OPINION

                 JUDGMENT: AFFIRMED IN PART, REVERSED IN PART, AND
                           REMANDED
                 RELEASED AND JOURNALIZED: August 22, 2024


         Criminal Appeal from the Cuyahoga County Court of Common Pleas
                            Case No. CR-22-673380-C


                                               Appearances:

                 Michael C. O’Malley, Cuyahoga County Prosecuting
                 Attorney, and James D. May, Assistant Prosecuting
                 Attorney, for appellee.

                 Cullen Sweeney, Cuyahoga County Public Defender, and
                 Rick Ferrara, Assistant Public Defender, for appellant.


KATHLEEN ANN KEOUGH, A.J.:

                   Defendant-appellant, Case Holloway, appeals his convictions

following a jury trial. For the reasons that follow, we find some merit to the appeal
and, thus, we affirm in part, reverse in part, and remand the matter to the trial court

for resentencing on Counts 3, 7, 18, and 25.

I.   Procedural History

               In May 2022, the State named Holloway and his codefendants in a

30-count indictment that stemmed from a series of large-scale liquor thefts at Giant

Eagle stores in Northeast Ohio. Specific to Holloway, the State charged him with,

      Count 1: Engaging in a Pattern of Corrupt Activity, a felony of the first
      degree, in violation of R.C. 2923.32(A)(1).

      Count 2: Conspiracy, a second-degree felony, in violation of R.C.
      2923.01(A)(2).

      Count 3: Grand theft, a felony of the fourth degree, in violation of R.C.
      2913.02(A)(1).

      Count 5: Felonious Assault, a first-degree felony, in violation of R.C.
      2903.11(A)(2), with a furthermore specification that the victim was a
      peace officer.

      Count 6: Robbery, a felony of the second degree, in violation of R.C.
      2911.02(A)(2).

      Count 7: Theft, a fifth-degree felony, in violation of R.C. 2913.02(A)(1).

      Count 8: Petty Theft, a misdemeanor of the first degree, in violation of
      R.C. 2913.02(A)(1).

      Count 15:     Theft, a fifth-degree felony, in violation of R.C.
      2913.02(A)(1).

      Count 18:      Theft, a fifth-degree felony, in violation of R.C.
      2913.02(A)(1).

      Count 25:      Theft, a fifth-degree felony, in violation of R.C.
      2913.02(A)(1).

      Count 28: Attempted theft, a misdemeanor of the second degree, in
      violation of R.C. 2903.02/2913.02(A)(1).
      Count 30: Receiving stolen property, a fourth-degree felony, in
      violation of R.C. 2913.51.

              Prior to trial, the State nolled Counts 5 and 6. As a result, Counts 1

and 2 were amended, which reduced the degree of those offenses to second- and

third-degree felonies, respectively. Holloway rejected a plea offer, and the case

proceeded before a jury.

II. Trial

              The State’s evidence established that from April 2022 until August

2022, Holloway, along with his co-defendants, Jessee Matthews, Deja Granger, and

Zionna Lee, engaged in a pattern of corrupt activity by coordinating and

orchestrating thefts from numerous Giant Eagle liquor stores in Cuyahoga County

and the surrounding counties in Northeast Ohio.         The State presented three

witnesses, including Matthew Smith, a store detective for Giant Eagle in asset

protection, and Agents Andrew Campbell and Raashad Whitfield, with the Ohio

Investigation Unit (“OIU”), who were assigned to investigate the liquor thefts.

Additionally, the State presented several surveillance videos from Giant Eagle stores

that recorded the thefts, still photographs created from those videos, and social

media photographs.

              Smith testified that in April 2022, he was a senior store detective for

Giant Eagle. He stated that he investigated incidents of internal and external thefts

and prepared reports for law enforcement for the prosecution of external thefts,

including these large-scale liquor thefts from Giant Eagle stores in Northeast Ohio.

He explained that as part of his investigative process in this case, he gathered
evidence from the surveillance systems at each Giant Eagle store and compiled

inventories of the missing items, including the total values.

               Smith testified that Giant Eagle in North Ridgeville alerted him that

a large amount of liquor was missing from the store. As a result, he reviewed

surveillance video from the store and observed two individuals, later identified as

Matthews and Holloway, removing several cases of liquor from the store on April

23, 2022. Smith stated that he observed Matthews in the employee-only storeroom

placing several cases of liquor in a shopping cart, pushing the cart out of the liquor

store area as Holloway spoke with the cashier, and then subsequently passing the

cart to Holloway, who exited the store with the cart. According to Smith, the cart

contained $1,163.76 worth of liquor — a case of Patron and a case of Hennessy. The

jury observed video surveillance and still photographs depicting the conduct of both

Matthews and Holloway and reviewed the receipt the store generated corresponding

to each item, its price, and total nontax value. Smith stated that neither individual

paid for the liquor.

               Smith next testified about another theft that occurred hours later on

April 23, 2022, at Giant Eagle in Rocky River. While he testified, the jury observed

surveillance footage and still photographs created from the videos, which showed

the actions of Matthews, Granger, and Holloway. In one video, Holloway is seen

dropping a bottle of liquor on the floor, causing the cashier and another employee

to clean up the liquid. According to Smith, he believed this was meant to be a

“distraction” while Matthews removed a case of Casamigos tequila from the back
storeroom, placed it on floor, and pushed it toward the exit of the liquor area. The

video then showed Holloway picking up the case of liquor, placing it in a shopping

cart, and pushing the cart out of the store without paying. The total nontaxed

amount was $327.29.

              Smith next testified about a theft from the Giant Eagle store in Mentor

on the Lake. He stated that as part of his investigation, he observed surveillance

video showing Matthews talking with the cashier while Granger and Holloway

removed cases of liquor and other grocery items out of the store without paying.

Smith stated that the total amount was valued at $2,207.32. The surveillance video,

however, was not presented to the jury, who saw only the still photographs created

from the video.

              Smith testified that he investigated thefts from the Willoughby Giant

Eagle store that occurred on June 11 and 12, 2022. According to Smith, Holloway

was only involved in the theft of liquor on June 11. The jury observed both video

surveillance footage and still photographs created from the video that showed

Holloway, Granger, and Matthews taking cases of liquor from the back storeroom

and pushing carts full of liquor out of the Giant Eagle store without paying. Smith

testified that the cases of liquor included Hennessey and Casamigos tequila, and the

value was $5,746.86. Regarding the theft that occurred on June 12, 2022, both

Granger and Matthews were observed taking $3,429.54 worth of liquor from the

Willoughby Giant Eagle store.
              Smith next testified about thefts that occurred at a Giant Eagle store

in Parma on July 13 and 15, 2022. Holloway was not involved in the July 13 theft,

but surveillance video recorded Matthews and Granger entering the Giant Eagle,

leaving with $551.88 worth of stolen liquor, and driving away in a gray Toyota

Camry that was later identified as stolen. Smith also testified about Holloway’s

involvement in the theft that occurred at the same Giant Eagle on July 15, 2022.

Video surveillance recorded Matthews, Granger, Holloway, and Lee arriving in the

Toyota Camry and entering the Giant Eagle. During this incident, video surveillance

recorded Holloway lifting cases of Patron tequila from the storeroom over a low wall

and placing them on top of the shelf on the other side. Another video showed

Holloway and Matthews taking the cases down from the shelf and placing them in

shopping carts that Lee and Granger had positioned. The final video the jury viewed

showed Matthews, Granger, Lee, and Holloway pushing liquor-filled shopping carts

and some miscellaneous groceries from store. According to Smith, the total nontax

value was $3,350.24.

              Smith also testified about an incident that occurred on August 5,

2022. He stated that video surveillance recorded Matthews, Granger, Lee, and

Holloway arriving in the Toyota Camry at Giant Eagle in Twinsburg. He stated that

they entered the store but exited shortly thereafter, emptyhanded. Smith stated that

the Twinsburg Giant Eagle does not have a liquor store.

              OIU Agent Campbell testified that during his investigation, he and

Agent Whitfield interviewed Holloway at the Cuyahoga County Jail following his
arrest by the Brooklyn police department. He stated that during this interview,

Holloway volunteered detailed information about his involvement in the liquor

thefts, admitting to his participation. According to Agent Campbell, Holloway told

him that he was compensated with money and pills in exchange for his participation

in the thefts.

                 OIU Agent Whitfield testified that he also was involved in the

investigation of the liquor thefts from Giant Eagle stores in Cuyahoga County. He

stated that as part of his investigation, he searched social media accounts linked to

Matthews and Granger and found photographs on those accounts revealing their

involvement, along with Holloway, in the liquor thefts.          In one photograph,

Holloway was seated inside the Toyota Camry. In other images, both Matthews and

Granger were photographed with liquor bottles matching those taken from Giant

Eagle.   Additional images were discovered on both Matthews’s and Granger’s

Instagram accounts of liquor bottles and cases of liquor inside the Toyota Camry

and its trunk that matched those stolen from Giant Eagle.

III. The Verdict and Sentence

                 Following the State’s case, the trial court granted Holloway’s Crim.R.

29 motion to dismiss Counts 28 (attempted theft) and 30 (receiving stolen

property). The jury found Holloway not guilty of Count 15 (theft) but guilty of the

remaining counts. The trial court imposed a total aggregate sentence of four years

in prison.
                 Holloway now appeals, raising six assignments of error that will be

addressed together and out of order where appropriate.1

IV. Identification of Giant Eagle

                 In his first assignment of error, Holloway contends that he was denied

due process of law by the State’s failure to identify “Giant Eagle” in the indictment

or at trial as a natural person or a corporation or entity incorporated in the State of

Ohio. He contends that the State’s failure to identify Giant Eagle or the individual

stores as corporations in the indictment and bill of particulars, and its failure to offer

proof of the corporate existence of Giant Eagle and the individual stores, rendered

the indictment fatally defective and thus deprived the trial court of jurisdiction.

                 Holloway did not move to dismiss the indictment as defective

pursuant to Crim.R. 12 or move to dismiss the charges on this basis during trial. The

“failure to timely object to a defect in an indictment constitutes a waiver of the

error.” State v. Horner, 2010-Ohio-3830, ¶ 46, citing Crim.R. 12(C)(2) (objections

to defect in indictment must be raised before trial). Accordingly, we review for plain

error, which will only be recognized in exceptional circumstances to avoid a

miscarriage of justice. Id., citing State v. Frazier, 73 Ohio St.3d 323 (1995); Crim.R.

52(B).




         1 Holloway filed his appellate brief, raising five assignments of error.The State
filed its brief and Holloway filed a reply brief. Subsequently, this court granted
Holloway’s request to supplement his brief, instanter, to raise the additional argument of
allied offenses. The State did not file a responsive brief.
              The Ohio Supreme Court has recognized two criteria by which the

sufficiency of an indictment is to be determined: (1) “‘whether the indictment

‘contains the elements of the offense intended to be charged, and sufficiently

apprises the defendant of what he must be prepared to meet,’” and, (2) “‘in case any

other proceedings are taken against him for a similar offence [sic], whether the

record shows with accuracy to what extent he may plead a former acquittal or

conviction.’” Frazier at 332, quoting Russell v. United States, 369 U.S. 749, 763-

764 (1962).

              Holloway has not alleged that he did not have adequate notice of the

charges against him or that he was misled or prejudiced by the State’s failure to aver

that Giant Eagle or its individual stores were a corporation. Based on our review of

the indictment, we find that it tracked the statutory definitions of the offenses

charged. Accordingly, Holloway was sufficiently apprised of the charges against

him, including that the named victim was Giant Eagle, and was adequately protected

against double jeopardy.

              Moreover, Giant Eagle’s status as a corporation is not a necessary

element of any charge listed in the indictment. An indictment is not made invalid

or defective “for want to averment of matter not necessary to be proved” or because

of “defects or imperfections which do not tend to prejudice the substantial rights of

the defendant upon the merits.” R.C. 2941.08(J) and (K).

              Relevant to the appeal, the State charged Holloway with violating R.C.

2923.32, engaging in a pattern of corrupt activity, and R.C. 2923.01, conspiracy —
neither of which require the State to prove the identity of a victim. Regarding the

charged theft offenses under R.C. 2913.02, the victim’s actual name is not an

element of the offense. See State v. Scott, 2017-Ohio-9193, ¶ 24 (10th Dist.).

              R.C. 2913.02(A)(1) provides, in relevant part, that “no person, with

purpose to deprive the owner of property or services, shall knowingly obtain or exert

control over either the property or service. . . without the consent of the owner or

person authorized to give consent.” (Emphasis added.)

              R.C. 2913.01(D) defines an “owner” as “any person, other than the

actor, who is the owner of, who has possession or control of, or who has any license

or interest in property or services, even though the ownership, possession, control,

license, or interest is unlawful.”    (Emphasis added.)       Ohio law recognizes a

“corporation” as a “person.” R.C. 1.59; Centerville v. Knab, 2020-Ohio-5219, ¶ 28;

see also R.C. 2901.01(B)(1)(a)(i) (a “person” under Chapter 29, includes a

“corporation”).

              The Supreme Court of Ohio has stated that the focus of “ownership”

is whether a defendant has lawful ownership at the time of the offense:

      It is apparent from the language of R.C. 2913.01(D) that title ownership
      in a specific person other than the defendant is not an element of a theft
      offense. Indeed under this definition a thief can steal from a thief. . . .
      It is . . . the defendant’s relationship to the property which is
      controlling. The important question is not whether the person from
      whom the property is stolen was the actual owner, but rather whether
      the defendant had any lawful right to possession.

State v. Rhodes, 2 Ohio St.3d 74, 76 (1982). “‘The gist of a theft offense is the

wrongful taking by the defendant, not the particular ownership of the property.’” In
re D.J., 2024-Ohio-738, ¶ 28 (8th Dist.), quoting State v. Jones, 2010-Ohio-902,

¶ 12 (8th Dist.), citing State v. Thomas, 2006-Ohio-6588 (8th Dist.). Accordingly,

the failure to identify or establish Giant Eagle or its individual stores as a corporation

does not render an indictment defective because Giant Eagle is a “person” and thus

an “owner” as contemplated under Ohio law.

               Based on the foregoing, Holloway has not demonstrated that the

indictment was defective or that he was denied due process. We find no plain error

and overrule his first assignment of error.

V.   Sufficiency of the Evidence

               Holloway contends in his second assignment of error that the State

presented insufficient evidence to support his convictions for engaging in a pattern

of corrupt activity, conspiracy, and theft. Specifically, he contends that the State

failed to present sufficient evidence of (1) venue; (2) the store numbers alleged in

the indictment and thus failed to meet the elements of each theft offense; (3) that

Giant Eagle was a corporation registered to do business in the State of Ohio; and (4)

any “enterprise” or conspiracy therewith.

               The test for sufficiency requires a determination of whether the

prosecution met its burden of production at trial. State v. Cottingham, 2020-Ohio-

4220, ¶ 32 (8th Dist.). An appellate court’s function when reviewing the sufficiency

of the evidence to support a criminal conviction is to examine the evidence admitted

at trial to determine whether such evidence, if believed, would convince the average

mind of the defendant’s guilt beyond a reasonable doubt. State v. Thompkins, 78
Ohio St.3d 380, 386 (1997) (Cook, J., concurring). The relevant inquiry is whether,

after viewing the evidence in a light most favorable to the prosecution, any rational

trier of fact could have found the essential elements of the crime proven beyond a

reasonable doubt. Id.
      A. Venue

              Holloway’s first challenge to the sufficiency of the evidence concerns

the State’s evidence regarding venue. Although venue is not a material element of

the offense charged, venue is a fact that the State must prove in a criminal

prosecution unless it is waived by the defendant. State v. Headley, 6 Ohio St.3d 475,

477 (1983). A defendant has waived the right to challenge venue when it is raised

for the first time on appeal. State v. Coley, 93 Ohio St.3d 253, 258 (2001), citing

State v. Campbell, 90 Ohio St.3d 320, 336 (2000); State v. Williams, 51 Ohio St.2d

112 (1977), paragraph one of the syllabus.

              In this case, Holloway never challenged venue before or during trial

and, therefore, he waived his right to complain on this basis. Compare State v.

Yavorcik, 2018-Ohio-1824, ¶ 110 (8th Dist.) (defendant challenged venue in a

pretrial motion to dismiss and in his Crim.R. 29 motion for judgment of acquittal

during trial). Even if Holloway properly preserved the issue, the State presented

sufficient evidence to prove that Cuyahoga County was a proper venue for trial.

              Ohio Constitution, Article I, Section 10, “‘fixes venue, or the proper

place to try a criminal matter.’” State v. Hampton, 2012-Ohio-5688, ¶ 19, quoting

Headley, 6 Ohio St.3d at 477 (explaining that the venue provision of the Ohio
Constitution embodies the rule “that the place of trial is to be where the offense

occurred.”) “Venue need not ‘be proven in express terms’ as long as it can ‘be

established by all the facts and circumstances in the case.’” State v. Brentlinger,

2017-Ohio-2588, ¶ 57 (3d Dist.), quoting State v. Dickerson, 77 Ohio St. 34 (1907),

syllabus.

              “Ohio’s criminal venue statute, R.C. 2901.12(H), is broad.” Yavorcik,

2018-Ohio-1824, at ¶ 110 (8th Dist.). This provision reads, in relevant part:

      (H) When an offender, as part of a course of criminal conduct, commits
      offenses in different jurisdictions, the offender may be tried for all of
      those offenses in any jurisdiction in which one of those offenses or any
      element of one of those offenses occurred. Without limitation on the
      evidence that may be used to establish the course of criminal conduct,
      any of the following is prima-facie evidence of a course of criminal
      conduct:

      (1) The offenses involved the same victim, or victims of the same type
      or from the same group.

      (2) The offenses were committed by the offender in the offender’s same
      employment, or capacity, or relationship to another.

      (3) The offenses were committed as part of the same transaction or
      chain of events, or in furtherance of the same purpose or objective.

      (4) The offenses were committed in furtherance of the same conspiracy.

      (5) The offenses involved the same or a similar modus operandi.

      (6) The offenses were committed along the offender’s line of travel in
      this state, regardless of the offender’s point of origin or destination.

R.C. 2901.12. The question of proper venue is ultimately resolved by determining

whether the defendant had a “significant nexus” with the jurisdiction in which he

was tried. State v. Carpenter, 2019-Ohio-58, ¶ 89 (3d Dist.).
              Holloway contends that the State failed to ascertain whether any one

offense or element thereof occurred in Cuyahoga County because there was no

testimony that “Cuyahoga County” was a location where any offense occurred.

(Appellant’s brief, page 11.) We disagree and find that the State presented sufficient

evidence that the offenses occurred in Cuyahoga County or that Holloway had a

significant nexus with Cuyahoga County to allow the State to try the offenses against

Holloway in Cuyahoga County.

              During Smith’s testimony, the State asked:

      PROSECUTOR: Mr. Smith, these incidents of liquor theft, what’s the
      vicinity, the county that they occurred?

      SMITH: So a couple of them occurred in Cuyahoga County; a few
      occurred in Lake. We had some in Lorain County, like North
      Ridgeville. We had some farther down in Summit County.

(Tr. 837.) Although an objection was made, which was “denied in part and sustained

in part,” the record is silent as to what part was sustained and what part was

overruled. However, when the prosecutor “restate[d] the question” and asked:

      PROSECUTOR: So, Mr. Smith, you investigated incidents in Cuyahoga
      County?

      SMITH: Yes.

      PROSCUTOR: Okay. You investigated incidents in Lake County?

      SMITH: Yes.

      PROSECUTOR: And you had at least one incident in Lorain County?

      SMITH: Yes.

      PROSECUTOR: And the incidents we’ve been discussing here all
      involved particular individuals?
      SMITH: Yes.

(Tr. 834-838.) On cross-examination, defense counsel asked:

      DEFENSE COUNSEL: Okay. So you had investigated at least 22
      incidents; isn’t that right?

      SMITH: All total?

      DEFENSE COUNSEL: I should be more specific, yes. Of alleged theft
      of liquor from the State liquor store within Giant Eagles mostly in
      Cuyahoga County, and a little bit in Lake County and one in Lorain?

      SMITH: Yes. I believed I had 27 incidents total attached to it, and not
      all of them were successful. Not all of them were necessarily brought
      forward. Yeah, there were 27, total, if I can recall, correctly.

      DEFENSE COUNSEL: Okay. And today, you testified about seeing Mr.
      Holloway during six of those incidents; isn’t that right?

      SMITH: Yes.

(Tr. 880-881.)

              Subsequently, during Agent Whitfield’s testimony, he agreed with the

prosecutor’s statement that he was “involved in an investigation in Cuyahoga County

of the theft of wholesale liquor from Giant Eagle’s liquor outlet retail

establishments.”   (Tr. 912.)    More importantly, Whitfield testified that after

Holloway was arrested by the Brooklyn Police Department, Holloway admitted that

he was involved in the thefts. (Tr. 950.)

              Accordingly, viewing the evidence in favor of the State, we find that

sufficient evidence was presented to prove that venue was proper in Cuyahoga

County because either the theft offenses occurred in Cuyahoga County or Holloway
had a significant nexus with Cuyahoga County in committing these large-scale thefts

in Northeast Ohio.

      B. Store Identification

              Holloway next contends that his convictions for theft are based on

insufficient evidence because the State did not present any evidence connecting the

identity of the specific Giant Eagle stores with any physical locations or amounts

stolen.

              Notwithstanding that the State was not required to connect the

individual stores to the specific instances of theft to prove that Holloway committed

the acts of theft, we could summarily reject this argument because Holloway has

failed to support his argument with any legal authority demonstrating error. See

App.R. 12 and 16.

              Nevertheless, Holloway was convicted of theft in violation of R.C.

2913.02 as charged in Counts 7, 8, 18, 25. A review of the indictment and the bill of

particulars on each count demonstrates that Holloway had notice of which count

pertained to which store, its location, and date of the offense. Moreover, the State

presented sufficient evidence to allow a reasonable factfinder to determine which

theft count related to which Giant Eagle store.

              In Count 7, the indictment identified that the date of the offense was

April 23, 2022, and occurred at the Giant Eagle Store #199. The State’s bill of

particulars identified that Giant Eagle Store #199 was located in North Ridgeville on

Center Ridge Road (Lorain County). During trial, Smith testified about the theft
that occurred at the North Ridgeville Store. He identified State’s exhibit No. 1 as the

receipt generated to determine the amount of liquor taken from that store. Smith

stated, “So this is a receipt for the theft from the North Ridgeville store on April 23rd

totaling retail nontax value of $1,163.76. This is what we determined to have been

in the cart that was pushed out by Case Holloway.” (Tr. 792.) He subsequently

identified Holloway in still photographs generated from surveillance video from the

North Ridgeville store.

               In Count 8, the indictment identified that the date of the offense was

April 23, 2022, and occurred at the Giant Eagle #1297. The State’s bill of particulars

identified that Giant Eagle #1297 was located in Rocky River on Center Ridge Road

(Cuyahoga County). During trial Smith testified about the theft of liquor that

occurred at the Rocky River location on April 23, 2022. He identified State’s exhibit

No. 18 as the receipt generated to determine the amount of liquor taken from that

store, which was $327.19. Smith subsequently identified Holloway, along with

Matthews and Granger, in video surveillance evidence and photographs.

               In Count 18, the indictment identified that the date of the offense was

June 11, 2022, and occurred at Giant Eagle #6831. The State’s bill of particulars

identified that Giant Eagle #6831 was located in Willoughby on Euclid Avenue (Lake

County). During trial, Smith testified about the theft of liquor that occurred at the

Willoughby location on June 11, 2022. He identified State’s exhibit No. 57 as the

receipts generated to determine the value of liquor taken from that store on both

June 11, 2022, and June 12, 2022. Relevant to Holloway, the receipt amount for the
theft on June 11, 2022, totaled $5,746.86. Smith subsequently identified Holloway

— along with Matthews and Granger — all exiting the store with a cart of liquor, in

video surveillance and photographs.

              In Count 25, the indictment identified that the date of the offense was

July 15, 2022, and occurred at Giant Eagle #6388. The State’s bill of particulars

identified that Giant Eagle #6388 was located in Parma on Broadview Road

(Cuyahoga County). During trial, Smith testified about the theft of liquor that

occurred at the Parma location on July 15, 2022. He identified State’s exhibit No.

72 as the receipt generated to determine the value of liquor taken from that store on

July 15, 2022, which totaled $3,350.24. Additional grocery items totaling $26.77

were also taken. Smith identified Holloway, along with Matthews, Granger, and Lee,

in video surveillance and photographs. Additionally, he testified that surveillance

video recorded the individuals, including Holloway, leaving in a Toyota Camry.

              Based on the foregoing, the State presented sufficient evidence to

support Holloway’s convictions for theft as charged in Counts 7, 8, 18, and 25. The

jury was presented with sufficient evidence allowing it to connect each theft offense

to each count by means of the date of the offense and the city in which the offense

occurred.

      C. Giant Eagle Corporation

              Holloway next challenges the sufficiency of the evidence of his theft

convictions by reincorporating the arguments he raised in his first assignment of

error in which he contended that the State failed to identify Giant Eagle as a natural
person or corporation registered to do business in the State of Ohio. We reject this

argument for the same reasons as previously explained in addressing his first

assignment of error.

      D. Enterprise

               Holloway’s final challenge to the sufficiency of the evidence concerns

the State’s purported failure to present sufficient evidence of an “enterprise” with

which he was associated in fact. Specifically, he contends that the State failed to elicit

testimony (1) of a “structure” to the alleged “enterprise” that he purposely supported

or participated in, and (2) that he conspired to purposely further the enterprise.

               Ohio’s Racketeer Influenced and Corrupt Organizations Act (“RICO”)

was modeled after the federal RICO Act, 18 U.S.C. 1961 et seq. and Ohio courts have

applied federal case law in Ohio RICO cases. State v. Beverly, 2015-Ohio-219, ¶ 3.

R.C. 2923.32(A)(1), engaging in a pattern of corrupt activity, provides, in relevant

part that “[n]o person . . . associated with any enterprise shall conduct or participate

in, directly or indirectly, the affairs of the enterprise through a pattern of corrupt

activity.” R.C. 2923.31 defines “pattern of corrupt activity” as “two or more incidents

of corrupt activity, whether or not there has been a prior conviction, that are related

to the affairs of the same enterprise, are not isolated, and are not so closely related

to each other and connected in time and place that they constitute a single event.”

               Thus, in order to prove a RICO offense, the State must prove that (1)

the defendant committed two or more predicate offenses, (2) the defendant was

“employed by, or associated with” an “enterprise,” and (3) the defendant conducted
or participated in the enterprise “through a pattern of corrupt activity.” State v.

Miranda, 2014-Ohio-451, ¶ 13, citing R.C. 2923.32(A)(1). “‘The conduct required to

commit a RICO violation is independent of the conduct required to commit [the

underlying predicate offenses].’” Id., quoting State v. Dudas, 2009-Ohio-1001, ¶ 46

(11th Dist.). “The intent of RICO is ‘to criminalize the pattern of criminal activity,

not the underlying predicate acts.’” Id., quoting State v. Thomas, 2012-Ohio-5577,

¶ 61 (3d Dist.).

               The State’s evidence conclusively established that Holloway

committed at least two theft offenses by removing liquor from the Giant Eagle stores

without paying and thus without consent from the owner. Additionally, the State

provided sufficient evidence that Holloway was associated with an “enterprise.”

R.C. 2923.31(C) defines “enterprise” as including “any individual, sole

proprietorship, partnership, limited partnership, corporation, trust, union,

government agency, or other legal entity, or any organization, association, or group

of persons associated in fact although not a legal entity.”

               In this case, the enterprise was not a legal entity, but an “association

in fact.” “An association-in-fact enterprise has been defined as ‘a group of persons

associated together for a common purpose of engaging in a course of conduct.’”

Beverly, 2015-Ohio-219, at ¶ 9, quoting Turkette, 452 U.S. 576, 583 (1981); Boyle v.

United States, 556 U.S. 938, 948 (2009) (“[A]n association-in-fact enterprise is

simply a continuing unit that functions with a common purpose.”). “[M]erely

committing successive or related crimes, however, is not sufficient to rise to the level
of a RICO violation.”      State v. Schlosser, 79 Ohio St.3d 329, 333 (1997).

Nevertheless, “the existence of an enterprise, sufficient to sustain a conviction for

engaging in a pattern of corrupt activity under R.C. 2923.32(A)(1), can be

established without proving that the enterprise is a structure separate and distinct

from a pattern of corrupt activity.” Beverly at ¶ 13.

               In this case, the State presented sufficient evidence that Holloway was

engaged in an association-in-fact enterprise to support his conviction for engaging

in a pattern of corrupt activity and conspiracy. Store detective Smith and Agents

Campbell and Whitfield testified that they investigated at least 27 large-scale liquor

thefts from Giant Eagle liquor outlet retail establishments in Northeast Ohio that

involved Matthews, Granger, Lee, and Holloway, or a combination thereof. Agent

Campbell testified that he learned that Holloway and Matthews were distant

cousins, Matthews and Granger were romantically involved, and Holloway and Lee

were dating. Although Holloway was involved in only six of the investigated thefts,

his participation and involvement furthered the enterprise’s purpose of taking large

amounts of liquor for the purpose of selling it for cash and pills.

               Additionally, Smith characterized the group’s methods and

operations as “sophisticated,” meaning that the participants would distract

employees, remove cases of liquor from back storerooms, load shopping carts, pass

off the loaded shopping carts to the other participants, and exit the store without

paying. Smith stated they used this “technique repeatedly,” and that the average

shoplifter is not this organized nor would the average shoplifter enter the stock room
to steal cases of liquor. Smith stated that these organized thefts occurred from at

least April 2022 until August 2022. Accordingly, we find that the State presented

sufficient evidence to support Holloway’s convictions for engaging in a pattern of

corrupt activity and conspiracy.

               Holloway’s second assignment of error is overruled.

VI. Manifest Weight of the Evidence

               “Weight of the evidence concerns 'the inclination of the greater

amount of credible evidence, offered in a trial, to support one side of the issue rather

than the other. . . . Weight is not a question of mathematics, but depends on its effect

in inducing belief.’” Eastley v. Volkman, 2012-Ohio-2179, ¶ 12, quoting Thompkins,

78 Ohio St.3d at 387. In a manifest-weight analysis, the reviewing court sits as a

“thirteenth juror” and reviews “‘the entire record, weighs the evidence and all

reasonable inferences, considers the credibility of witnesses, and determines

whether in resolving conflicts in the evidence, the [trier of fact] clearly lost its way

and created such a manifest miscarriage of justice that the conviction must be

reversed, and a new trial ordered.’” Thompkins at id., quoting State v. Martin, 20

Ohio App.3d 172, 175 (1st Dist. 1983). The discretionary power to grant a new trial

should be exercised only in exceptional cases where the evidence weighs heavily

against the conviction. Thompkins at 386.

               In his fifth assignment of error, Holloway contends that his

convictions for engaging in a pattern of corrupt activity and conspiracy are against

the manifest weight of the evidence because he was not a full-time participant, no
evidence was presented that he planned or strategized about the thefts, and his only

objective in the enterprise was to get drugs for himself.

               The justification surrounding why Holloway involved himself in the

enterprise of stealing large amounts of liquor from Giant Eagle stores in the

Northeast Ohio area does not render his convictions against the manifest weight of

the evidence. The evidence overwhelmingly demonstrated that Holloway actively

participated in the large-scale thefts by distracting store employees, entering

employee-only restricted areas, loading cases of liquor into shopping carts, and

pushing those carts out of the store beyond all points of sale. On at least one

occasion, these events occurred within hours of each other at two different locations.

Based on the foregoing, we find that the jury clearly did not lose its way requiring

this court to step in as the thirteenth juror, reverse his convictions, and order a new

trial. Holloway’s fifth assignment of error is overruled.

VII. Count 3 — Jury Instruction Regarding Venue

               During its charge, the trial court verbally instructed the jury that

Count 3, grand theft, occurred in Cuyahoga County. However, because the State

charged Holloway with grand theft as an all-encompassing offense of the theft

offenses that occurred in Cuyahoga, Summit, Lake, and Lorain Counties over a

period of time, the trial court clarified to the jury that the offense was charged as “a

continuing course of conduct” and some of the events “may have happened outside

of Cuyahoga County.” (Tr. 1044.) As a result, the parties agreed that the written
instructions provided to the jury would not include the specific venue of “Cuyahoga

County” as it related to Count 3.

              Holloway’s third and fourth assignments of error pertain to the trial

court’s alleged error in removing “Cuyahoga County” from Count 3, grand theft. In

his third assignment of error, Holloway contends that the trial court deprived him

of his right to due process under the U.S. and Ohio Constitutions when the court

removed venue from Count 3. He contends in his fourth assignment of error that

his counsel was ineffective by assenting to the trial court’s decision to remove the

requirement to prove venue under that count. We find no error.

              Because Count 3 was charged as an aggregate of multiple thefts, R.C.

2901.12 did not require the identification of a specific venue. R.C. 2901.12, venue,

affords broad jurisdiction when the charged offenses include theft and conspiracy.

Regarding theft, subsection (C) provides that when the offense involves the unlawful

taking of property, i.e., theft, “the offender may be tried in any jurisdiction from

which the property was taken or received.” R.C. 2901.12(C).

              Regarding conspiracy, subsection (D) provides that “the offender may

be tried in any jurisdiction in which the conspiracy . . . or any of its elements

occurred.” R.C. 2901.12(D). Subsection (E) further broadens the scope of the trial

court’s jurisdiction involving conspiracy offenses by stating:

      When the offense is conspiracy . . . the offender may be tried in any
      jurisdiction in which the offense that was the object of the conspiracy
      . . . or any element of that offense, was intended to or could have taken
      place. When the offense is complicity . . . the offender may be tried in
      any jurisdiction in which the principal offender may be tried.
               Moreover, R.C. 2901.12(G) provides that “[w]hen it appears beyond a

reasonable doubt that an offense or any element of an offense was committed in any

of two or more jurisdictions, but it cannot reasonably be determined in which

jurisdiction the offense or element was committed, the offender may be tried in any

of those jurisdictions.”

               Finally, to complete the scope of the trial court’s grant of jurisdiction

over multiple offenses committed “as part of a course of criminal conduct,” R.C.

2901.12(H)(1)-(5) permits the State to try an offender in “any jurisdiction in which

one of those offenses or any element of one of those offenses occurred.” Accordingly,

the statutory language of R.C. 2901.12 grants sweeping jurisdiction over charges of

engaging in a pattern of corrupt activity, conspiracy, and theft that involved multiple

different jurisdictions. State v. Haddix, 93 Ohio App.3d 470, 479 (12th Dist. 1994)

(“A prosecution for engaging in a pattern of corrupt activity is properly venued in

any county in which a portion of the corrupt activity occurred.”).

               In this case, the State established that Holloway committed two thefts

within Cuyahoga County, to wit: in Parma and Rocky River. See State v. Love, 2019-

Ohio-3168 (9th Dist.) (venue established when city is located exclusively within one

county). The State also established that these thefts occurred in furtherance of an

“enterprise” and “pattern,” which allowed all the offenses to be tried in Cuyahoga

County, where an element of the charged conduct occurred. Because R.C. 2901.12

allows for such broad jurisdiction over the conduct, the inclusion of Cuyahoga

County in the jury instruction regarding Count 3 was unnecessary. Accordingly, we
find no error, plain or otherwise, in the trial court’s decision to remove “Cuyahoga

County” from Count 3 in the written instructions provided to the jury.

               Having found no error in the instructions, we further find no merit to

Holloway’s fourth assignment of error contending that his counsel was ineffective

for assenting to the trial court’s decision to delete “Cuyahoga County” from the jury

instructions on Count 3. To establish ineffective assistance of counsel, a defendant

must demonstrate that counsel’s performance fell below an objective standard of

reasonable representation and that he was prejudiced by that performance. State v.

Drummond, 2006-Ohio-5084, ¶ 205, citing Strickland v. Washington, 466 U.S.

668 (1984).     Prejudice is established when the defendant demonstrates “a

reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceedings would have been different. A reasonable probability is a probability

sufficient to undermine confidence in the outcome.” Strickland at 694.

               Holloway has not demonstrated any defect in trial counsel’s

representation, nor has he demonstrated that a reasonable probability exists that

the result of the trial would have been different had counsel objected to the trial

court’s clarification and instruction.

               Holloway’s third and fourth assignments of error are overruled.

VIII. Allied Offenses

               In his sixth assignment of error, Holloway contends that the trial

court committed plain error in failing to merge the theft offenses in Counts 3, 7, 18,
and 25 because they are allied offenses. The State did not file any opposing

argument on this issue.

              Under the plain error standard, an error is not reversible unless it

affected the outcome of the proceeding and reversal is necessary to correct a

manifest miscarriage of justice. State v. Rogers, 2015-Ohio-2459, ¶ 3; see also

Crim.R. 52. Applying the plain error standard to an allied offenses argument, “an

accused has the burden to demonstrate a reasonable probability that the convictions

are allied offenses of similar import committed with the same conduct and without

a separate animus” or import. Id. The defendant must meet this burden before a

reviewing court may reverse for plain error. Id.
              R.C. 2941.25 provides as follows:

      (A) Where the same conduct by defendant can be construed to
      constitute two or more allied offenses of similar import, the indictment
      or information may contain counts for all such offenses, but the
      defendant may be convicted of only one.

      (B) Where the defendant’s conduct constitutes two or more offenses of
      dissimilar import, or where his conduct results in two or more offenses
      of the same or similar kind committed separately or with a separate
      animus as to each, the indictment or information may contain counts
      for all such offenses, and the defendant may be convicted of all of them.

              In State v. Ruff, 2015-Ohio-995, the Supreme Court of Ohio clarified

how courts are to determine whether offenses are allied. The Court noted that the

allied-offenses analysis is dependent upon the facts of a case because R.C. 2941.25

focuses on the defendant’s conduct. Id. at ¶ 26. Nevertheless, conduct is but one

factor to consider when determining whether offenses are allied. Id. at ¶ 21. The

court explained:
       As a practical matter, when determining whether offenses are allied
       offenses of similar import within the meaning of R.C. 2941.25, courts
       must ask three questions when defendant’s conduct supports multiple
       offenses: (1) Were the offenses dissimilar in import or significance? (2)
       Were they committed separately? and (3) Were they committed with
       separate animus or motivation? An affirmative answer to any of the
       above will permit separate convictions. The conduct, the animus, and
       the import must all be considered.

Id. at ¶ 31.

               With respect to import, the Court explained that offenses are of

dissimilar import “if they are not alike in their significance and their resulting

harm.” Id. at ¶ 21. Thus, “two or more offenses of dissimilar import exist within the

meaning of R.C. 2941.25(B) when the defendant’s conduct constitutes offenses

involving separate victims or if the harm that results from each offense is separate

and identifiable.” Id. at ¶ 26.

               The record demonstrates that the State arguably conceded that Count

3, grand theft, was an aggregate count of the underlying theft offenses as charged in

Counts 7, 18, and 25. Prior to trial, the State advised the trial court of the plea it

offered to Holloway:

       The State would move to amend — move to amend Count 1 from a
       felony of the first degree to a felony of the second degree.

       The State would ask for a plea of Count 3, grand theft, a felony of the
       fourth degree.

       The State would then ask for a plea to Counts 7, 15, and 18.

       Those are all thefts, felonies of the fifth degree.

       Those counts would merge with Count [3], so ultimately there would
       be sentencing on counts of Count 1 and Count 3.
(Tr. 257-258.) Subsequently during its initial closing argument during trial, the

State told the jury:

      The Court is going to give you an instruction, and it’s a special
      instruction with regard to Count 3. It’s grand theft.

      And that count, it’s a capture-all, or collect-all count.

      It goes from beginning or whenever you identify a course of conduct.

      And so in an instance like that, you may add up all of the individual
      thefts because it’s a course of conduct. It’s the same thing, the same
      way, the same product, and you can add all that together to make it one
      theft on behalf of the victim because we have one victim, Giant Eagle.

      Ultimately, we have stores, but ultimately, really, it’s Giant Eagle.

(Tr. 982.)

               In State v. Snyder, 2011-Ohio-6346, ¶ 19-20 (12th Dist.), the

defendant was convicted of one count of grand theft by deception and three counts

of passing bad checks. Id. at ¶ 1. In the grand-theft-by-deception count, the

defendant was charged with engaging in a continuing course of criminal conduct

from January 26, 2009 through March 3, 2009. Id. at ¶ 22. During that time, the

defendant issued three bad checks: one on February 11, 2009 and two on February

18, 2009. Id. The Twelfth District concluded that the defendant’s grand-theft-by-

deception and passing-bad-checks convictions were allied offenses of similar import

and subject to merger because, in part, the defendant issued the bad checks during

the continuing course of conduct alleged in the grand-theft-by-deception count of

the indictment. Id. at ¶ 25, 33.
                A similar result is required in this case. Holloway, much like the

Snyder defendant, committed acts of theft that were the basis for Counts 7, 18, and

25, but as a course of conduct as alleged in Count 3, grand theft. Based on the record,

we find that Holloway has demonstrated plain error. Counts 7, 18, or 25 should have

merged with Count 3. Accordingly, the findings of guilt on Counts 3, 7, 18, and 25

remain intact; however, the sentences imposed on each are vacated, and the case is

remanded for the State to elect upon which count the trial court should impose

sentence. The assignment of error is sustained.

IX. Conclusion

                Judgment affirmed in part, reversed in part, and remanded for

resentencing.

      It is ordered that the parties share equally the costs herein taxed.

      The court finds there were reasonable grounds for this appeal.

      It is ordered that a special mandate issue out of this court directing the

common pleas court to carry this judgment into execution

      A certified copy of this entry shall constitute the mandate pursuant to Rule 27

of the Rules of Appellate Procedure.



KATHLEEN ANN KEOUGH, ADMINISTRATIVE JUDGE

MICHAEL JOHN RYAN, J., and
SEAN C. GALLAGHER, J., CONCUR
